        Case 18-73980-FJS                Doc 44       Filed 03/24/21 Entered 03/24/21 13:21:09                           Desc Main
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B 2100A (Form 2100A) (12/15)


                         UNITED STATES BANKRUPTCY COURT
In re Christopher J. Branch                                                           Case No. 18-73980-FJS


                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY

  A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
  hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
  than for security, of the claim referenced in this evidence and notice.


                United Security Financial Corp.                              United Security Financial Corp.
                 Name of Transferee                                                    Name of Transferor

  Name and Address where notices to transferee                             Court Claim # (if known): 5
  should be sent:
                                                                           Amount of Claim: $4,308.36
                    BSI Financial Services
                  314 S Franklin St, 2nd Floor                             Date Claim Filed: 12/31/2018
                         PO Box 517
                     Titusville, PA 16354

  Phone:      (800) 327-7861                                               Phone: (877) 426-8805
  Last Four Digits of Acct #: 2887                                         Last Four Digits of Acct #: 2887


  Name and Address where transferee payments should
  be sent (if different from above ):
                       BSI Financial Services
                          PO Box 679002
                       Dallas, TX 75267-9002


  Phone: (800) 327-7861
  Last Four Digits of Acct #: 2887


  I declare under penalty of perjury that the information provided in this notice is true and correct to the
  best of my knowledge and belief.

  By            /s/Mark D. Meyer, Esq.                                           Date:             3/24/2021
         Transferee/Transferee’s Agent


  Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 3571.
               Case 18-73980-FJS        Doc 44   Filed 03/24/21 Entered 03/24/21 13:21:09       Desc Main
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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                                        Norfolk Division
                         IN RE

                         CHRISTOPHER J. BRANCH                        Case No. 18-73980-FJS
                                                                      Chapter 13
                            Debtor

                                                    CERTIFICATE OF SERVICE
                               I hereby certify that on the 24th day of March, 2021, the Transfer of Claim
                         was mailed, first class mail, postage prepaid, upon the following who were not
                         served via CM/ECF:



                             Christopher J. Branch                   Christopher Baker, Esquire
                             3708 Old Forge Road                     Boleman Law Firm
                             Virginia Beach, VA 23452                272 Bendix Road, Suite 330
                                                                     Virginia Beach, VA 23452
                                                                     (served via CM/ECF)

                                                                     R. Clinton Stackhouse, Jr., Trustee
                                                                     7021 Harbour View Boulevard,
                                                                     Suite 101
                                                                     Suffolk, VA 23435
                                                                     (served via CM/ECF)


                             Respectfully Submitted,

                             /s/ Mark D. Meyer, Esq.
                             Mark D. Meyer, Esq.
                             Rosenberg & Associates, LLC
                             4340 East West Highway, Suite 600
                             Bethesda, MD 20814
    MARK MEYER
   DC BAR 475552
   MD BAR 15070
   VA BAR 74290

     ROSENBERG &
   A SSOCIATES, LLC
4340 East West Highway
       SUITE 600
 BETHESDA, MD 20814
    (301) 907-8000
 FILE NUMBER: 79458
